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IN THE UNITED STATES DISTRICT COURT FH'EB girl ““““ D'C°

FoR THE wEsTERN DISTRICT oF TENNESSEE

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PATRICIA JEAN DISNEY,
Plaintiff,
vs.

Civ. No. 05-2306-B[P

STATE FARM FIRE & CASUALTY
COMPANY,

Defendant.

 

SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held
July' 28, 2005. Present Were Thomas D. Yeaglin, counsel for
plaintiff, and Antonio L. Matthews, counsel for defendant. At the
conference, the following dates were established as the final dates
for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1):
September 5, 2005

JOINING PARTIES: OC'COber 5, 2005
AMENDING PLEADINGS: OCtObeI‘ 5, 2005
INITIAL MOTIONS TO DISMISS: OCtObeI` 16, 2005

COMPLETING ALL DISCOVERY: March 16, 2006

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(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: February 16, 2006

(C) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: Pursuant to the Order of Dismissal
entered by the Court in Civil Action No. 02-2210,
Plaintiff will not be permitted to use an expert
witness.

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: February 16, 2006

(3) EXPERT WITNESS DEPOSITIONS: MarCh 16, 2006
FILING DISPOSITIVE MOTIONS: April 16, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection. to the default, response,
answer, or objection shall be waived.

This case is set for jury trial, and the trial is expected to
last five (5) days. The pretrial order date, pretrial conference
date, and trial date Will be set by the presiding judge.

The parties do not agree that ADR is appropriate at this time.
The parties are reminded that pursuant to Local Rule

ll(a)(l)(A}, all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

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The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall filek a motion. for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

The parties have not consented to trial before the magistrate
judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or

extended.
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TU M. PHAM
United States Magistrate Judge

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Date U

IT IS SO ORDERED.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CV-02306 Was distributed by fax, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

